       Case 2:12-cr-00006-DLC Document 156 Filed 06/09/16 Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
                                                                               FILED
                      FOR THE DISTRICT OF MONTANA                                JUN 0 9 2016
                             BUTTE DIVISION                                   Clerk, U S District Court
                                                                                District Of Montana
                                                                                      Missoula


 UNITED STATES OF AMERICA,                             CR 12-06-BU-DLC-02

                      Plaintiff,

        vs.                                                     ORDER

 STEPHANIE GIBSON,

                       Defendant.


      Before the Court is Defendant Stephanie Gibson's 1 ("Gibson") unopposed

motion for early termination of supervised release. Gibson's four-year term of

supervision expires on November 9, 2016. She represents-in what the Court

acknowledges is a very well-written, cogent pro se motion-that she has had no

issues whatsoever while on supervision, has completed all obligations associated

with her sentence, has maintained steady and successful employment in the form

of her own accounting business, and is "ready to move on from this unfortunate

and regrettable period of her life." (Doc. 155 at 8.) Both Gibson's United States

Probation Officer and the government concur that termination of supervision is




      1. At the time of her conviction, Defendant went by Stephanie Gibson Leibenguth.

                                            -1-
        Case 2:12-cr-00006-DLC Document 156 Filed 06/09/16 Page 2 of 3



appropriate in this instance.

      Federal law provides that a "court may, after considering the factors set

forth in [18 U.S.C. § 3553(a),] terminate a term of supervised release and

discharge the defendant released at any time after the expiration of one year of

supervised release ... if it is satisfied that such action is warranted by the conduct

of the defendant released and the interest of justice." 18 U.S.C. § 3583(e)(l).

      Here, the Court finds that Gibson's conduct during her term of supervision

and the interest of justice warrant granting the motion. Gibson has, by all

accounts, been a model supervisee. She has fully complied with her conditions of

supervision, has nurtured a thriving professional business, and, while recognizing

the gravity of her criminal offense, has come to the point where her federal

conviction is best left in the past. It is the Court's view-and that of the United

States Probation Office-that resources are better spent elsewhere than in support

of supervising a fully compliant, non-violent defendant. Moreover, justice is best

served by ensuring Gibson's success going.forward.

      Accordingly, IT IS ORDERED that Gibson's motion for early termination

of supervised release (Doc. 155) is GRANTED. The term of supervised release

imposed by the Court on November 9, 2012 is TERMINATED as of the date of

this order. Gibson's sentence in this matter is hereby DISCHARGED.

                                          -2-
 Case 2:12-cr-00006-DLC Document 156 Filed 06/09/16 Page 3 of 3



DATED this Gt #l day of June, 2016




                             Dana L. Christensen, Chief J dge
                             United States District Court




                               -3-
